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UNITED STATES DISTRICT CDURT
DISTRICT OF CONNECTICUT

I)ARRELL NEILANDER

Plaintiff
VS.

BANK OF AMERICA CORP()RATION

Defendant

CASE No. 3111Cv 01726 (wwE)

DECEMBER 2, 2011

STIPULATION FOR DISMISSAL WITH PREJUDICE

The Plaintiff and Defendant, pursuant to Rule 41(&) of the Federal Rules of Civil

Proeedure, hereby stipulate for dismissal of this action With prejudice in accordance With the

Joint Notice of Settlement Which has been filed With the Court.

THE PLAINTIFF,
DARRELL NEILANDER

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D`§§§*én Neiland@r (Pro se)
30 King Street
Wallingford, CT 06492
203-376~4407

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THE DEFENDANT

BANK OF AMERICA, N.A.
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Corpora§§u;n) /" § ./ §»’

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Christopher S. AntociM
USDC CT Bar: 28633

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Tel.: 203.388.9100

File Nn,; 12691,00103

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CERTIFICATE OF SERVICE

l hereby certify that, on December 2, 2011, a copy of the foregoing Was filed
electronically and served by mail on anyone unable to accept electronic filing Notice of this
filing will be sent by e-mail to all parties by operation of the Court’s electronic filing system or
by mail to anyone unable to accept electronic filing as indicated on the Notice of Electronic
Filing. Parties may access this filing through the Court’s CM/ECF System.

 

By

Christopher S. Wq.

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